
In re Canadianoxy Offshore Prod. Co.; Co-noco, Inc.; Amoco Corporation; Atlantic Richfield Co.; Arco Chemical Co.; Chevron U.S.A. Inc.; Crown Central Petroleum Corp.; Marathon Oil Co.;. Marathon Oil Co.; *451Mobil Oil Corporation; Monsanto Company; Phillips Petroleum Corp.; Shell Oil Company; Sun Company, Inc.; Texaco, Inc.; Union Oil Co./California; — Defendant(s); applying for supervisory and/or remedial writs; to the Court of Appeal, Third Circuit, No. CW93-0816; Parish of Calcasieu, 14th Judicial District Court, Div. “G”, No. 92-6208.
Denied.
WATSON, J., not on panel.
